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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT —_“Suancitigs District oon

 

FILE
for the
AY DA onag
Southern District of Texas MAY 24 2013
United States of America ) Covic J. Diacley, Cleric
v. ) MA.
Juan Antonio Moreno (YOB: 1983; U.S. Citizen) Case No. ~ [3- O94 7- M
Jesse Joe Mata (YOB: 1991; U.S. Citizen) )
)
a, - a)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)of == ss April 12,2012 in the county of Hidalgo sin the
Southern __——Districtof === ss‘Texas———__s the .e defendant(s) violated:
Code Section Offense Description
Title 18, U.S.C. Section 924(c) knowingly and intentionally discharged, used and carried a firearm, that is a
Title 18, U.S.C. Section 2 handgun and rifle, during and in relation to a drug trafficking crime, to-wit:

conspiracy to possess with intent to distribute a controlled substance, for
which they may be prosecuted in a court of the United States

This criminal complaint is based on these facts:

See Attachment

Continued on the attached sheet.

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Complainant's signature

Matthew D. Hiemstra, Special Agent, FBI

Printed name and title

 

 

Sworn to before me and signed in my presence.

 
  

Date: 08/23/2013 FO? fo oN TT $

Judge's signature

_ McAllen, Texas — _ Peter E. Ormsby, U.S. Magistrate Judge |

City and state:

~ Printed name and title
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Attachment
I, Matthew D. Hiemstra, being duly sworn, state as follows:

1. | am a Special Agent with the Federal Bureau of Investigation (hereinafter
referred to as “FBI”) in McAllen, Texas. I have conducted numerous
investigations related to crimes of violence. This affidavit is based on
information provided to me by the investigators from the Hidalgo County
Sheriff's Office (hereinafter referred to as “HCSO”).

2. On April 12, 2012, at approximately 2:05 a.m., HCSO deputies were
dispatched to a residence located at 7112 Rambo Street in Edinburg, Hidalgo
County, Texas in response to a shooting incident. Upon arrival the deputies
encountered two men who had been shot. The men were identified as Victor
Serna and his son, Eric Serna. Victor Serna, the homeowner, was shot in the
back of his head and died the following day. Eric Serna was shot in the
stomach and leg and survived.

3. Eric Serna told investigators that while asleep in his room with his wife and
young child he heard someone breaking in through the front door of their
residence. After getting up from his bed, he encountered a man carrying a
rifle. At that point, Eric Serna began struggling with this man for control of
the rifle. Shortly thereafter, Victor Serna in possession of a firearm came out
of his bedroom to Eric Serna’s aid. While struggling with this man, another
man came from behind Victor Serna and shot him in the back of the head
and then shot Eric Serna in the stomach and leg.

4. Later that same day, HCSO investigators were notified that a male subject
was transported to the Edinburg Regional Children’s Hospital with a
gunshot wound to the abdomen. The male subject was transported to the
hospital by Juan Antonio MORENO (hereinafter referred to as
“MORENO”). MORENO was questioned and admitted to his involvement
in the home invasion of the residence located at 7112 Rambo Street.
MORENO told investigators that he drove around the area as a lookout for
law enforcement while other individuals committed the home invasion.
MORENO also told investigators that his nephew, Jesse Joe MATA

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(hereinafter referred to as “MATA”) drove a Ford Explorer to the residence
located at 7112 Rambo Street for the purpose of transporting the marijuana
that they were going to steal. MORENO then told investigators that while
conducting surveillance for law enforcement he met up with MATA and saw
a man in the Ford Explorer that had been shot during the home invasion. At
that time, MORENO drove the man to Edinburg Children’s Hospital.

. During questioning, MATA told investigators that his uncle, MORENO,
approached him regarding a home invasion for the purpose of stealing some
marijuana. Before conducting the home invasion, MATA told investigators
that he and MORENO along with other men met at a location near 7112
Rambo Street where MATA saw a man with a rifle. After this meeting, four
men got into an SUV; MATA drove a Ford Explorer; and MORENO drove a
Grand Prix. MATA followed the SUV to 7112 Rambo Street where several
men from the SUV broke into the residence. Shortly thereafter, MATA saw
a man carrying a large bundle believed to contain marijuana and putting it
into the SUV. MATA then heard shots and saw another man who had been
shot jump into the Ford Explorer. MATA then drove off and met with
MORENO who transported the man to the hospital.
